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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA



                                                          CIVIL ACTION NO. 2:21-CV-02223
NARESSA COFIELD,

               Plaintiff                                          JUDGE LANCE M. AFRICK

v.
KIPP NEW ORLEANS, INC.,                                  MAG. JUDGE DANA M. DOUGLAS
RHONDA KALIFEY-ALUISE, in her
individual and official capacity, and
OCTAVE LAROCHE, in his individual
and official capacity, and
THE HANOVER INSURANCE
COMPANY.

               Defendants




                                              ORDER


       Considering the Plaintiff Naressa Cofield’s Consent Motion for Leave to File a First

Amended Complaint,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to File First Amended

Complaint is GRANTED; and

       IT IS FURTHER ORDERED that Plaintiff’s proposed First Amended Complaint filed on

April 8, 2022, attached to Plaintiffs’ Motion shall be filed into the record.

       New Orleans, Louisiana this ____day of _______________, 2022.


                                       _________________________________
                                       UNITED STATES DISTRICT JUDGE
                                       EASTERN DISTRICT OF LOUISIANA
